         Case
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                                                                   Detail on  FLSD
                                                                          by Entity NameDocket 05/02/2022 Page 1 of 5

 Florida Department of State                                                                                                   Division   of   C o r p o r at i o n s




      Department of State / Division of Corporations / Search Records / Search by Entity Name /



         Detail by Entity Name
         Florida Limited Liability Company
         SDC-GADOT LLC
         Filing Information

         Document Number                  L17000216265
         FEI/EIN Number                   XX-XXXXXXX
         Date Filed                       10/18/2017
         Effective Date                   10/18/2017
         State                            FL
         Status                           ACTIVE
         Principal Address

         w 210 89th street
         Apt. 1k
         NYC, NY 10024

         Changed: 04/29/2018
         Mailing Address

         w 210 89th street
         Apt k1
         NYC, NY 10024

         Changed: 04/29/2018
         Registered Agent Name & Address

         SRSL MANAGEMENT, INC
         4101 PINE TREE DRIVE
         UNIT 1530
         MIAMI BEACH, FL 33140
         Authorized Person(s) Detail

         Name & Address


         Title AMBR


         FORLIT, AMIT
         5-A HABARZEL STREET
         TEL AVIV, IL 69710-02 IL


         Annual Reports


https://search.sunbiz.org/Inquiry/CorporationSearch/SearchResultDetail?inquirytype=EntityName&directionType=Initial&searchNameOrder=SDCGADOT L170002…               1/2
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5/2/22, 11:11 AM 1:22-mc-20707-JEM                  Document 7-2 Entered
                                                                     Detail on  FLSD
                                                                            by Entity NameDocket 05/02/2022 Page 2 of 5

         Report Year                Filed Date
         2020                       04/11/2020
         2021                       02/03/2021
         2022                       01/27/2022


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    Case 1:22-mc-20707-JEM Document 7-2 Entered on FLSD Docket 05/02/2022 Page 5 of 5
2022 FLORIDA LIMITED LIABILITY COMPANY ANNUAL REPORT                 FILED
DOCUMENT# L17000216265                                            Jan 27, 2022
Entity Name: SDC-GADOT LLC                                     Secretary  of State
                                                                 3427915055CC
Current Principal Place of Business:
W 210 89TH STREET
APT. 1K
NYC, NY 10024


Current Mailing Address:
W 210 89TH STREET
APT K1
NYC, NY 10024 US

FEI Number: XX-XXXXXXX                                                                                                      Certificate of Status Desired: No
Name and Address of Current Registered Agent:
SRSL MANAGEMENT, INC
4101 PINE TREE DRIVE
UNIT 1530
MIAMI BEACH, FL 33140 US

The above named entity submits this statement for the purpose of changing its registered office or registered agent, or both, in the State of Florida.

SIGNATURE:
                         Electronic Signature of Registered Agent                                                                                                                Date

Authorized Person(s) Detail :
Title                  AMBR
Name                   FORLIT, AMIT
Address                5-A HABARZEL STREET
City-State-Zip:        TEL AVIV IL 69710-02




I hereby certify that the information indicated on this report or supplemental report is true and accurate and that my electronic signature shall have the same legal effect as if made under
oath; that I am a managing member or manager of the limited liability company or the receiver or trustee empowered to execute this report as required by Chapter 605, Florida Statutes; and
that my name appears above, or on an attachment with all other like empowered.

SIGNATURE: FORLIT, AMIT                                                                                                MANAGER                                            01/27/2022
                        Electronic Signature of Signing Authorized Person(s) Detail                                                                                             Date
